Case 8:11-cr-00453-CEH-TGW Document 40 Filed 02/15/12 Page 1 of 5 PageID 144
Case 8:11-cr-00453-CEH-TGW Document 40 Filed 02/15/12 Page 2 of 5 PageID 145
Case 8:11-cr-00453-CEH-TGW Document 40 Filed 02/15/12 Page 3 of 5 PageID 146
Case 8:11-cr-00453-CEH-TGW Document 40 Filed 02/15/12 Page 4 of 5 PageID 147
Case 8:11-cr-00453-CEH-TGW Document 40 Filed 02/15/12 Page 5 of 5 PageID 148
